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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )        2:03cr172-T
JASON AGLES                        )

                                 ORDER

    It is ORDERED that the hearing, now set for January 17,

2006, is reset for January 26, 2006, at 10:00 a.m. at the

Frank M. Johnson, Jr. United States Courthouse complex,

Courtroom 2E, One Church Street, Montgomery, Alabama, 36104.

    DONE, this the 11th day of January, 2006.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
